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                        EXHIBIT A
                                                                                                                           State Court of Fulton County
                            Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 2 of 71                                                  **E-FILED**
                                                                                                                                            21EV001042
      GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SPACE       2/18/2021 8:01 AM
                                                                                                                             Christopher G. Scott, Clerk
                                                                                                                                           Civil Division
      STATE COURT OF FULTON COUNTY                                              CIVIL ACTION FILE #: ___________________________
                       Civil Division



                                                                                  TYPE OF SUIT                               AMOUNT OF SUIT
      _____________________________________
      CARLA HALL
                                                                                    [ ] ACCOUNT                   PRINCIPAL $_____________
      _____________________________________                                         [ ] CONTRACT
                                                                                    [ ] NOTE                      INTEREST $______________
      _____________________________________                                         [ ✔ ] TORT
      Plaintiff’s Name, Address, City, State, Zip Code                              [ ] PERSONAL INJURY          ATTY. FEES $_____________
                                                                                    [ ] FOREIGN JUDGMENT
                               vs.                                                  [ ] TROVER                   COURT COST $ ___________
                                                                                    [ ] SPECIAL LIEN
                                                                                                         ************
      _____________________________________
      PUBLIX SUPER MARKETS, INC.                                                    [ ✔ ] NEW FILING
      _____________________________________
      c/o Corporate Creations Network, Inc.                                         [ ] RE-FILING: PREVIOUS CASE NO. ___________________

      _____________________________________
      2985 Gordy Pkwy, 1st Floor, Marietta, GA 30066

      Defendant’s Name, Address, City, State, Zip Code

                   SUMMONS
      TO THE ABOVE NAMED-DEFENDANT:
       You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
      Name: ______________________________________________
             Tifanie R. Owens, Esq., Bey & Associates, LLC

      Address: ____________________________________________
               191 Peachtree Street, Suite 3200
      City, State, Zip Code: __________________________________________________
                             Atlanta, GA 30303                                                               404-344-4448
                                                                                                   Phone No.:___________________________
      An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
      fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
      JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
      Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                                  Christopher G. Scott, Chief Clerk (electronic signature)



      ______________________________________________________________________________________________________________________


      SERVICE INFORMATION:
      Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                                     DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

      WRITE VERDICT HERE:
      We, the jury, find for ______________________________________________________________________________________________
      _______________________________________________________________________________________________________________
      This _________ day of _______________________, 20_____.                 ______________________________________ Foreperson


                                                               (STAPLE TO FRONT OF COMPLAINT)




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                 EXHIBIT B
                                                                                                    State Court of Fulton County
                        Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 4 of 71                               **E-FILED**
                                                                                                                     21EV001042
                                                                                                              2/18/2021 8:01 AM
                                                                                                     Christopher G. Scott, Clerk
                                                                                                                    Civil Division
                                   IN THE STATE COURT OF FULTON COUNTY
                                             STATE OF GEORGIA

              CARLA HALL                                           )
                                                                   ) CIVIL ACTION
              Plaintiff,                                           ) FILE NO.
                                                                   )
              v.                                                   )
                                                                   ) JURY TRIAL DEMAND
              PUBLIX SUPER MARKETS, INC.,                          )
                                                                   )
              Defendant.                                           )
                                                                   )

                                                 VERIFIED COMPLANIT.

                    COMES NOW, Plaintiff Carla Hall (hereinafter “Plaintiff Hall”), in the above-styled

             action, and files this Verified Complaint against the Defendant, Publix Super Markets, Inc.

             (hereinafter “Defendant Publix”) shows the court as follows:

                                              PRELIMINARY STATEMENT

                                                              1.

                    This is a civil action seeking to hold Defendant Publix liable for the incident that occurred

             on March 15, 2019, causing personal injuries to Plaintiff Hall.

                                           PARTIES, JURISDICTION, AND VENUE

                                                              2.

                    At all relevant times in the instant litigation, Plaintiff Hall was a citizen of the United States

             and residing in the State of Georgia.

                                                              3.

                    At all relevant times in the instant litigation, Defendant Publix Super Markets, Inc. was a

             foreign profit corporation existing under the laws of the state of Florida and is authorized to

             transact business in the State of Georgia and may be served with process through its registered




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             agent Corporate Creations Network, Inc. at 2985 Gordy Parkway, 1st Floor, Marietta, GA 30066

             in Cobb County.

                                                               4.

                    This incident occurred in Defendant’s premises located at 3730 Carmia Drive, #200,

             Atlanta, GA 30331 in Fulton County.

                                                               5.

                    Defendants are subject to this venue and jurisdiction under Article VI, Section II, Paragraph

             VI of the Constitution of the State of Georgia.

                                                  OPERATIVE FACTS

                                                               6.

                    On March 17, 2019, Plaintiff Hall was an invitee at Publix Super Markets, Inc. located at

             3730 Carmia Drive, #200, Atlanta, GA 30331 in Fulton County.

                                                               7.

                    On approximately the same date, Defendant Publix was the owner of the Publix Super

             Markets, Inc. located at 3730 Carmia Drive, #200, Atlanta, GA 30331.

                                                               8.

                    At all times relevant to this action, Defendant Publix owed Plaintiff Hall a duty to exercise

             ordinary care in keeping the premises and approaches safe.

                                                               9.

                    At all times relevant to this action, Plaintiff Hall was an invitee, as she was invited on the

             premises and acted on said invitation by entering Defendant’s place of business for the lawful

             purpose of purchasing household items.




                                                               -2-


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                                                              10.

                     Plaintiff was near the deli section looking at the salads.

                                                              11.

                     At approximately the same date, time and location, an employee of Defendant Publix came

             near Plaintiff hall to stock shelves.

                                                              12.

                     While Plaintiff Hall stopped at the aisle, the employee dropped a large heavy box hitting

             Plaintiff Hall on the back of her head and the bone in her neck.

                                                              13.

                     As a result of the incident, she suffered severe injuries including, but not limited to, her

             head, neck, chest and lower back that required significant medical treatment.

                                                 COUNT I – NEGLIGENCE


                                                              14.

                     Plaintiff Hall incorporates by reference, as fully set forth herein, Paragraph 1 through 12

             of the Complaint in its entirety.

                                                              15.

                     Defendant Publix owed Plaintiff Hall a duty to exercise ordinary care in keeping the

             premises and approaches safe.

                                                              16.

                     Defendant Publix breached its duty to exercise ordinary care in keeping the premises and

             approaches safe.

                                                              17.

                     Defendant Publix knew or should have known that Plaintiff Hall was in the aisle while the


                                                              -3-


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             employee was stocking the shelves.

                                                            18.

                    Defendant Publix negligently allowed an employee to drop heavy items while customers

             were shopping causing said item to fall on Plaintiff Hall.

                                                            19.

                    Defendant Publix negligently failed to train their employees to properly stock the shelves.

                                                            20.

                    As a result of the incident Plaintiff Hall suffered bodily injuries that required medical

             treatment.

                                                            21.

                    As a direct and proximate result of Defendant Publix’s negligence, Plaintiff sustained

             significant physical and emotional injuries.

                                                            22.

                    As a direct and proximate result of Defendant Publix’s negligence, Plaintiff was required

             and underwent medical treatment for her injuries.

                                                            23.

                    As a direct and proximate result of Defendant Publix’s negligence, Plaintiff incurred

             significant medical expenses.

                                                            24.

                    Defendant Publix’s negligence was a direct and proximate cause of injury to Plaintiff,

             including personal injuries; medical expenses; physical and emotional pain and suffering; and

             mental anguish.




                                                             -4-


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                          COUNT II – NEGLIGENT HIRING, TRAINING & SUPERVISION

                                                              25.

                     Plaintiff re-alleges and incorporates herein the allegations contained in paragraphs 1

             through 23 above as if fully restated.

                                                              26.

                     Defendant Publix was negligent in hiring the employee that injured Plaintiff and entrusting

             him to properly stock the shelves.

                                                             27. .

                     Defendant Publix was negligent in failing to properly train the employee that injured

             Plaintiff.

                                                              28.

                     Defendant Publix was negligent in failing to properly supervise the employee that injured

             Plaintiff.

                                                              29.

                     Defendant Publix’s negligence in hiring the employee that injured Plaintiff and entrusting

             him with to properly stock shelves and failing to train and supervise him properly was the sole and

             proximate cause of the incident, and Plaintiff’s resulting injuries.

                                                  COUNT III – DAMAGES
                                                              30.

                     Plaintiff Hall re-alleges and incorporates herein the allegations contained in paragraphs 1

             through 28 above as if fully restated.

                                                              31.

                     As a result of Defendant’s negligence, Plaintiff Hall suffered significant injuries.

                                                              -5-


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                                                             32.

                    As a result of Defendant’s negligence, Plaintiff Hall has a claim for past medical expenses.

                                                             33.

                    As a result of Defendant’s negligence, Plaintiff Hall has a claim for future medical

             expenses.

                                                             34.

                    As a result of Defendant’s negligence, Ms. Hall has a claim for past pain and suffering.

                                                             35.

                    As a result of Defendant’s negligence, Ms. Hall has a claim for future pain and suffering.

                    WHEREFORE, Plaintiff Hall prays for the following:

                    (a)      That process and summons issue requiring Defendant Publix Super Markets, Inc.

                             to appear as provided by law and to answer the allegations of this Complaint;

                    (b)      A trial by jury;

                    (c)      Recovery for her past and future physical pain and suffering;

                    (d)      Recovery for her past and future mental and emotional pain and suffering;

                    (e)      Recovery of past special damages in the amount of eight thousand two hundred

                             eighty-six dollars and thirty-seven cents ($8,286.37);

                    (f)      Recovery for present, and future medical, hospital, and other items of special

                             damages;

                    (g)      That all costs be cast against Defendant Publix;

                    (h)      Her loss of enjoyment of life; and

                    (i)      For such other and further relief as the Court deems just and appropriate.




                                                             -6-


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                         18th day of February, 2021.
                    This ____

                                                                Respectfully submitted,

                                                                BEY & ASSOCIATES, LLC


                                                                _________________________
                                                                Tifanie Owens, Esq.
                                                                Georgia Bar No.: 868125
                                                                Attorneys for Plaintiff
                    191 Peachtree Street, NE, Ste. 3200
                    Atlanta, Georgia 30303
                    Telephone: (404) 344-4448.




                                                          -7-


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                                   IN THE STATE COURT OF FULTON COUNTY
                                             STATE OF GEORGIA

              CARLA HALL                                       )
                                                               ) CIVIL ACTION
              Plaintiff,                                       ) FILE NO.
                                                               )
              v.                                               )
                                                               ) JURY TRIAL DEMAND
              PUBLIX SUPER MARKETS, INC.,                      )
                                                               )
              Defendant.                                       )
                                                               )

                                                        VERIFICATION

                    Personally, appeared before me, CARLA HALL, who, after first being duly sworn,

             deposes and states under oath that I have read the foregoing Verified Complaint, and that the

             presented facts stated therein are true and correct to the best of my knowledge.

                    Respectfully submitted on this ________________________.
                                                        02/17/2021


                                                                   __________________________________
                                                                   CARLA HALL




                                                             -8-


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                       EXHIBIT C
                                                                                                    State Court of Fulton County
                    Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 13 of 71                                  **E-FILED**
                                                                                                                     21EV001042
                                                                                                             2/26/2021 10:47 AM
                                                                                                     Christopher G. Scott, Clerk
                                                                                                                    Civil Division
                                    IN THE STATE COURT OJF FULTON COUN TY
                                              STATE OJF GEORG](A

              CARL A HA LL,

              Plaintiffs,                                             C](V](JL ACTION
                                                                      FILE NO. 21EV001042
              v.

              PUBLIX SUPER MARKETS, INC.,

              Defendant,
                                                 AFFIDAVIT OF SERVICE

                     COMES NOW, RANDAL GEORGE, before the undersigned officer duly authorized to
             administer oaths and states that he is a citizen of the United States, he is over the age of eighteen
             (18), he is not a party to the suit, he is not a relative to any party in the suit, he is not a convicted
             felon, he is not the attorney for any party in the suit, he has no financial interest in the litigation,
             and he is wholly disinterested in the litigation.

                    Randal George states that he served PURJL](X SUPER MARKETS, INC. on February
             22, 2021 at 4:33 PM by serving its registered agent Corporate Creations Network, Inc. at 2985
             Gordy Parkway, 1st Floor, Marietta, Georgia 30066 with:

                   SUMMONS; VERIFIED COMPLAINT; PLAINTIFF CARLA HALL FIRST
             INTERROGATORIES TO DEFENDANT PUBLIX SUPER MARKETS, INC.; PLAINTIFF'S
             FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT PUBLIX
             SUPER MARKETS, INC. and PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO
             DEFENDANT PUBLIX SUPER MARKETS, INC.

             I certify under penalty of perjury that the foregoing is true and correct.



                                                                   ---~.,Vv · :~ V\~ '-1?-0 ~~
                    AL GEORGE                                        NOTAR PUBLIC                               LJ
             4164 Indian Trace                                       Sworn to and subscribed before me
             Lilburn, GA 30047                                       This February 23, 2021
             (404) 840-2822                                          My commission expires:

                                                                                                              ba/at




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                                                     IN THE STATE COURT OF FULTON COUNTY

                                                                  STATE OF GEORGIA

                                                                                       Administrative Orderff:   ZI

                                            IN RE: ORDER FOR APPOINTMENT FOR SERVICE OF PROCESS

       It appearing that the State Court of Fulton County has read and considered petitions and cri          (
                                                                                                        ef
       below, and the same having met certification requirements, this Court hereby allows the sanya ir
       proceedings,

       IT IS HEREBY ORDERED that the following persons:

       ABRAHAM, ROBYN L.                    ELLIOTT, MAURICE                   KAHSSU, HAILE TANKEY
       ALLEN, LAKEITA TYESHA                FARKAS, BELA                       KIDD, ELIZABETH A.                 SAXON, JASMINE N.
       ANDERSON, WILLIAM JAMES.             FAULKENER, DANA VANESSE            KING, AMOS                         SAXON, RASHAD L.
       ANDREWS li., GENE EDWARD             FAZZIO, DEDREA L.                  KIRKLAND, SHIRLEY PATRICIA         SAXON, ROBIN L.
       AQUIRRE, ANTUAN SAUL                 FERRERO, AMYLYNN                   KOTLAR, MICHAEL JOHN               SAXON-FORD, VIRGINIA L.
       ARMSTRONG, CHRISTOPHER J.            FISHER, DAWN WALLS                 LAUSMAN, MARSHA CAROLINE           SEKLECKI, CHRISTIAN GANTT
       BAILEY, ANNA MARIE                   FITZGERALD, FLORETTA               LETTS, WILLIAM EARL                SHEPHERD, ELIZABETH A,
       BARNEY JR., STEVEN MICHAEL           FOLDS, CATHERINA PILAR             LEWIS, KEVIN J.                    SIBBALD, JOHN WILLIAMS
       BARRON, SHANE WILLIS                 FOLDS, GEORGE LARRY                LOUIS, CLYDE A.                    SINGLETON, WESLEY GENE
       BARRY, PAUL EDWIN                    FORD, RONNIE                       LUTWACK, WILLIAM CIRO              SMITH JR., BRUCE RICHARD
       BASHAM, JAMES STEVEN                 FOX, JUHANI ALLEN                  MAGGARD, ANDREW M                  SMITH, DELACIE
       BENITO, RICHARD DAVID                FREESE, JESSICA RENEE              MALLAS, NICHOLAS ANDREW.           SMITH, RONALD L.
       BOLLING, KATHERINE DEVORE            FULLER, THOMAS WAYNE               MCCLELLAN, RODNEY J.               SMITH, VIRGINIAELIZABETH CHARLES
       BRAZEMAN, CRAIG PHILIP               GALVIN, ELIZABETH MARY             MCGAHEE, LARRY LOUIS               SNELLINGS, SHARON ELAINE
       BRIDGES, KAYLA DENISE                GAYLE, EARL WINSTON                MCMILLON, ERICKA DANIELLE          SPEARS, JOYE L.
       BRILEY, DONNIE C.                    GELVIN, TAMMY ANITA                MITCHELL, KEVIN JOSEPH             STANTON, CHRISTOPHER SCOTT
       BRYANT, SHEMIKA ROCHELLE             GEORGE, RANDAL LEE                 MORGAN, TODD VERNELL               STEWART, RONNIE NORRIS
       BUNCH, KIM                           GIBBS IIL, THOMAS DAVID            MORRISON, ZURE MCEADY              STINYARD, KELVIN
       BYER, EDMOND JOHN                    GILES, HERBERT FREDERICK           MOTT, CYNTHIA                      STONE, ALESIA ANDREA
       CARITHERS, GREGORY ALLEN             GREEN, ANJENAI G.                  MUHAMMAD, AZIZAH                   STONE, RODNEY DAVID
       CHILDRESS, CLIFTON                   GREENWAY, KIMBERLY BEHELER         MURPHY JR., GREGORY BERNARD        SWINDLE, FRANK LEE
       CLEMMONS, JOYCE YVONNE               GRIMSHAW, SHANE KELLEE             MURRAH, JUANQUALO DEMON            SWINGER, INA LYNN
       CLINE, TRAVIS DANIEL                 HANDLEY, WILEY D.                  NICHOLS, JEAN GRINWIS              TASSAW, BERHANE B
       COCHRANE, BABETTE DAWN               HARRIS, PARKS WAYNE                NICHOLS, LATHAN OTTO                   THOMPSON, VANESSA
       COLLIER, WILLIAM MICHAEL             HASSAN, MUHSIN SHAHID              NOLEN, MILTON LEE                  THRASH, NANCY M
       COOK, CHRIS LAMAR                    HASSAN, MUHSIN SHAHID              O'LEARY, CHRISTINE LOUISE          TORT, HENRY
       CUNNINGHAM, SALLY K                  HEIMERICH JR., RICHARD PAUL        PANNELL, NICOLE D.                 TROY, DOUGLAS ADAM
       DALMAN, JONATHAN BRADFORD            HIGHSMITH, AMOS MATTHEW            PANNELL, NICOLE D.                 TURNER, TRAVIS DAVON
       DAMBACH-CIRKO, PATRICIA JOYCE        HIGHTOWER, ANTHONIO EDWARD         PARKER, ADAM DEAN                  VELASQUEZ, JULIUS O.
       DANIELS, SONIA LYNN                  HILL, HOLLIS JEROME                PARKER, ATARI L.                   WALKER WHISBY, KATARA Y.
       DAVENPORT, ALTERICK SHEREFF          HINDSMAN, CHERROD TER-RAY          PERLSON, MARC DAMON                WASHINGTON, SABRINA ANEATHA
       DAVIDSON, DANNY DOUGLAS              HINES, JAMES WILLIAM               RANSOME, MAURICE                   WATT, ROOSEVELT
       DAVIDSON, MITCHELL THOMAS            HORTON, CHRISTOPHER TODD.          RAUSER, JAYNE                      WEBBER, MELINA MARY                    i
       DAY, DUANE DAVIDSON                  HUDSON, HAKIMAH                    RECKERSDREES, THOMAS NMN           WEEKS, FRANCES MARIAN              1
       DERRICHO JR., DAVID EMANUEL          HUDSON, KYLE                       REDDICK, DEREK LAMAR               WEST, ERIC NOEL
       DEVAUGHN, CARL LINTON                HUGULEY,CK ADONNI                  RICHARDSON, LEROY ANTHONY          WILLIAMS, JACK LELAND R.
       DOLBIER, JEFFERY ALAN                HUMPHREY, JOVIERA Y.               RIVERS, MICHAEL THOMAS             WILLIAMS, LAVERN
       DREEMAN, DOUGLAS E.                  IRVINE, XAVIER ANTOINE             ROBINSON, JEROY                    WINKELMAN, NAN LANGFORD
       EARTHRISE, ROCHELLE DENISE           JAMES, FRANK HUGH                  RUDDOCK, MARGARET A.               WOLFE, LISE LYNN
       ECHOLS, ERIC DWIGHT                  JENKINS, STEPHANIE DENISE          RUTLEDGE, RONALD WILLIAM           WRIGHT, CHRISTOPHER K.
       ECHOLS, PATRICIA IZETTA              JOHNSON, EARL ©.                   SADLER JR., JOHN THURSTON          ZAYAS, ROBERTO

                                                                                                                                                     ||
       be appointed and authorized to serve as Permanent Process Servers for the calendar year of 2021, without the necessity of an
       order for appointment in each Individual case.

       SO ORDERED,this        |     day of January, 2021.

                                                                                                                                                     |
                                                                                                                                                     1




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                      EXHIBIT D
                                                                                               State Court of Fulton County
                     Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 16 of 71                            **E-FILED**
                                                                                                                21EV001042
                                                                                                         2/18/2021 8:01 AM
                                                                                                Christopher G. Scott, Clerk
                                                                                                               Civil Division
                                    IN THE STATE COURT OF FULTON COUNTY
                                              STATE OF GEORGIA

             CARLA HALL                                       )
                                                              ) CIVIL ACTION
             Plaintiff,                                       ) FILE NO.
                                                              )
             v.                                               )
                                                              ) JURY TRIAL DEMAND
             PUBLIX SUPER MARKETS, INC.,                      )
                                                              )
             Defendant.                                       )
                                                              )

                            PLAINTIFF CARLA HALL FIRST INTERROGATORIES TO
                                 DEFENDANT PUBLIX SUPER MARKETS, INC.

                    Defendant Publix Super Markets, Inc. is requested to respond to the following written

             interrogatories pursuant to O.C.G.A. §9-11-33.

                    Defendant is required to answer these interrogatories separately and fully, in writing,

             under oath, and to serve a copy of defendant’s answers to the attorney for the plaintiff within

             forty-five (45) days after service.

                    If an interrogatory seeks information contained in a document, defendant may attach a

             copy of the document in lieu of answering that interrogatory. If defendant chooses to answer by

             reference to a document, its answer must identify the document upon which defendant relies.

             These interrogatories are continuing in nature until the day of trial, and defendant is required to

             serve supplemental answers as additional information becomes available.

                    The terms “defendant” and “you” and any synonym or plural thereof and derivatives

             therefrom means the defendant, and, in addition, counsel for defendant and all agents, masters,

             servants, associates, employees, representatives, private investigators, insurers and others who

             are or have been in possession of, or who may have obtained, information for or on defendant’s

             behalf. See O.C.G.A. §9-11-33(a).




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                    The word “person” means an individual, firm, partnership, corporation, proprietorship,

             association, governmental body, or any organization or entity.

                    The word “date” means the exact day, month and year, if ascertainable, or if not, the best

             available approximation (including relation to other events).

                    The word “document” as used hereinafter includes, but is not limited to, all written,

             printed, recorded, or typed records, reports, proposals, drafts, papers, contracts, documents,

             books, letters, statements of witnesses, statements of persons who were not witnesses but who

             have information relating to the occurrence which is the subject matter of this lawsuit, notes,

             accounting records, logs, memoranda, minutes, statistical compilations, work sheets, insurance

             policies, films, photographs, videotapes, voice recordings, drawings, computer disks, computer

             tapes, computer stored information, lists and correspondence, whether or not in your possession

             or under your immediate control (insofar as these Interrogatories are concerned), relating to or

             pertaining in any way to the subject matter in connection with which it is used, and further

             includes, without limitation, file copies and other copies, no matter how or by whom prepared

             and all drafts prepared in connection with such “documents”, whether used or not.

                    The words “identify” or “identity” used in conjunction with “documents” means to state

             the date of the document, its author and sender (if appropriate), its intended recipient (if

             appropriate), and a general statement of the form and content of each such document reflecting

             the contents of the document and the identity of its custodian.

                    The words “identify”, or “identity” when used in conjunction with a request for the

             identity of a “person” means to state the person’s complete name, home address, home phone,

             business address, business phone, and job description if you can describe it.

             Defendant is reminded of the duty to supplement defendant’s answers to these Interrogatories as




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             required by O.C.G.A. §9-11-26(e).

                                                 INTERROGATORIES

                                                           1.

                    Identify yourself including your name, age, address, social security number, your official

             position and relation to the Defendant.

                                                           2.

                    Identify all persons who have assisted in or were consulted in the process of gathering the

             information requested herein and as to each person state the interrogatory for which he or she

             provided information.

                                                           3.

                    Identify the complete names, address, including county, and dates of employment of all

             management personnel of Publix located at 3730 Carmia Drive, #200, Atlanta, GA 30331,

             including each manager and assistant manager, who were employed on March 15, 2019.

                                                           4.

                    Please describe in complete detail the duties and responsibilities of all management

             personnel, including managers and assistant managers, at Publix located at 3730 Carmia Drive,

             #200, Atlanta, GA 30331 as those duties and responsibilities existed on March 15, 2019.

                                                           5.

                    Identify the complete name, address, including county, and dates of employment of all

             non-management personnel of Publix located at 3730 Carmia Drive, #200, Atlanta, GA 30331,

             who were employed on March 15, 2019.

                                                           6.

                    Please describe in complete detail the duties and responsibilities of all non-management




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             personnel at Publix located at 3730 Carmia Drive, #200, Atlanta, GA 30331 as those duties and

             responsibilities existed on March 15, 2019.

                                                               7.

                    Please describe in complete detail the policy of Publix located at 3730 Carmia Drive,

             #200, Atlanta, GA 30331 regarding safety inspections of the store and all of its effects.

                                                               8.

                    With respect to each policy of liability insurance (automobile, umbrella, and any other

             coverage) which may be responsible for providing you with liability coverage for the claims

             made by Plaintiff(s), please:

                    a.         identify all insurance companies which may have coverage, and as to each:

                    b.         state the extent of coverage provided in the policy or policies of insurance,

             including coverage for both personal injury and property damage; and

                    c.         the policy numbers of each policy.

                                                               9.

                    With respect to each person who witnessed, or claims to have witnessed, or has

             knowledge of any facts concerning, the incident of March 15, 2019, which is the subject of this

             lawsuit please:

                    a.         identify each person;

                    b.         state whether you have obtained a statement from them, and state the date the

                               statement was obtained, and the identity of the person who took the statement;

                    c.         describe the information which they possess which is relevant to this action;

                    d.         identify all documents which record, reflect, or otherwise evidence statements

                               they have given and your communications with them; and




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                     e.     produce a copy of all statements referred to in response to Interrogatory No. 9.

                                                             10.

                     With respect to any maps, pictures, photographs, videotapes, drawings, diagrams,

             measurements or other written or recorded descriptions of the incident, the scene of the incident,

             or the areas or persons involved (including plaintiff) that you, or any agent or employee of yours,

             have possession or control of, or know of the existence of, please state:

                     a.     Its nature or type and specific subject matter;

                     b.     The date and time it was made or taken;

                     c.     The identity the person making or taking it;

                     d.     Its present location; and

                     e.     The identity of the person at whose request it was made or taken.

                                                             11.

                     Please state the name and address, including county, of each and every person, whether

             present at Publix located at 3730 Carmia Drive, #200, Atlanta, GA 30331 on March 15, 2019 or

             not, whom you contend can testify that Ms. Hall did not suffer any injuries.

                                                             12.

                     Please state in detail the policy or procedure Defendant had in place on March 15, 2019

             for inspecting the premises and approaches at issue, including in the response, (a) how often the

             premises and approaches was inspected: (b) what the inspector was looking for in such

             inspection; (c) what adjustments to the premises and approaches the inspector was authorized to

             make.

                                                             13.

                     Identify all persons or corporations who were the registered owners or who had any legal




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             or equitable interest in the Publix located at 3730 Carmia Drive, #200, Atlanta, GA 30331 on

             March 15, 2019, at the time of the incident described in the Complaint.

                                                              14.

                    Please provide the name and address, including county, of each and every person who

             [over the past seven years] made any claim against Defendant for allegedly falling, slipping,

             tripping or nearly falling on the premises or approaches of an establishment owned or operated

             by Defendant, including, but not limited to, the Publix at issue.

                                                              15.

                    Please identify the name, phone number and address of the employee who dropped the

             heavy box on Plaintiff on March 15, 2019.

                                                              16.

                    Please state how the employee dropped the box on Plaintiff at the Publix located at 3730

             Carmia Drive, #200, Atlanta, GA 30331 on March 15, 2019. Include the reason for your

             response and any materials, documents, videos, photographs or evidence used to determine the

             length of time stated in the response to this interrogatory.

                                                              17.

                    Describe in detail how the incident referenced in the Complaint involving Plaintiff on

             March 15, 2019 happened, stating in your answer all events relating thereto in their sequential

             order, including all actions taken by you or an employee of Publix to prevent or assist Plaintiff.

                                                              18.

                    Describe in detail each act or omission on the part of plaintiff which you contend

             constituted negligence that was a contributing factual cause of the incident which occurred on

             March 15, 2019.




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                                                             19.

                    Please describe as fully as possible the date, time, and the number of customers inside of

             the Publix at issue in Plaintiff’s Complaint.

                                                             20.

                    Please identify each person you expect to call as an expert witness at the trial of this

             action and as to each:

                    a.      Describe his/her qualifications as an expert;

                    b.      State the subject matter upon which she is expected to testify;

                    c.      State his/her opinions and include a summary of the grounds for each opinion;

                    d.      Identify all documents which have       been    exchanged   with   each   witness,

                            including reports and billing statements and payments;

                    e.      Describe the financial arrangements with the expert;

                    f.      Identify all actions in which the expert has provided testimony in the five years

                            preceding your response; and

                    g.      Identify all documents prepared by each witness which relate to the subject matter

                            of this lawsuit.

                                                              21.

                    Please state the complete name; home and business addresses; and home, business, and

             cell phone numbers of each and every person you have had to analyze any videotape of the

             subject incident and provide as to each the opinions held regarding the cause of Ms. Hall’s

             incident.

                                                             22.

                    For March 15, 2019, please state with specificity the time when every inspection of the




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             premises and approaches was undertaken, including who performed the inspection, their phone

             number, address, job title and date of employment.

                                                           23.

                    If you have denied any one or more of First Request for Admissions to Defendant, please

             state your grounds for each such denial and specify the facts on which you base each such denial.

                                                           24.

                    Please identify by complete name; home and business addresses; home, business and cell

             phone numbers for each person who served in the following positions on March 15, 2019: (a)

             Director of Loss Prevention; (b) Safety Director; (c) Store Manager; and (d) General Manager.


                  18th day of February, 2021.
             This ____
                                                                  Respectfully submitted,

                                                                  BEY & ASSOCIATES, LLC


                                                                  _________________________
                                                                  Tifanie Owens, Esq.
                                                                  Georgia Bar No.: 868125
                                                                  Attorneys for Plaintiff
             191 Peachtree Street, NE, Ste. 3200
             Atlanta, Georgia 30303
             Telephone: (404) 344-4448.




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                     EXHIBIT E
                                                                                                State Court of Fulton County
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                                                                                                                 21EV001042
                                                                                                          2/18/2021 8:01 AM
                                                                                                 Christopher G. Scott, Clerk
                                                                                                                Civil Division
                                   IN THE STATE COURT OF FULTON COUNTY
                                             STATE OF GEORGIA

             CARLA HALL                                        )
                                                               ) CIVIL ACTION
             Plaintiff,                                        ) FILE NO.
                                                               )
             v.                                                )
                                                               ) JURY TRIAL DEMAND
             PUBLIX SUPER MARKETS, INC.,                       )
                                                               )
             Defendant.                                        )
                                                               )

                              PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS TO
                                 DEFENDANT PUBLIX SUPER MARKETS, INC.

                     In compliance with O.C.G.A.§9-11-36, Defendant Publix Super Markets, Inc.

             (hereinafter “Defendant”) is required to admit the truth of the separately listed matters of fact,

             and the genuineness of the attached documents, on the forty-fifth (45th) day after service of this

             request. As required by statute, defendant is required to respond to this request in writing.

                     Defendant is specifically reminded that the separately listed statements of facts are

             deemed admitted unless, within forty-five (45) days after service of this First Request For

             Admissions to Defendant, defendant serves a written answer, or objection, addressed to each

             fact.

                                                             1.

                     On March 15, 2019, Defendant was the owner of Publix located at 3730 Carmia Drive,

             #200, Atlanta, GA 30331.

                                                             2.

                     On March 15, 2019, Defendant was operating Publix, located at 3730 Carmia Drive,

             #200, Atlanta, GA 30331, for business and was open to the public.




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                                                            3.

                      On March 15, 2019, Plaintiff Carla Hall was a customer at Publix, located at 3730

             Carmia Drive, #200, Atlanta, GA 30331.

                                                            4.

                      On March 15, 2019, Defendant allowed an employee to stock shelves of Publix located at

             3730 Carmia Drive, #200, Atlanta, GA 30331.

                                                            5.

                      On March 15, 2019, Defendant was aware or should have been aware that an employee

             was improperly stocking shelves on the Publix located at 3730 Carmia Drive, #200, Atlanta, GA

             30331.

                                                            6.

                      On March 15, 2019, Defendant failed to properly train employee’s safely stock shelves.

                                                            7.

                      On March 15, 2019, Defendant’s employee dropped a heavy box on Plaintiff Carla Hall.

                                                            8.

                      On March 15, 2019, Plaintiff Carla Hall suffered injuries from an incident that occurred

             at the Publix located at 3730 Carmia Drive, #200, Atlanta, GA 30331.

                                                            9.

                      On March 15, 2019, Plaintiff Carla Hall was an invitee of Defendant.

                                                            10.

                      On March 15, 2019, Defendant was the proximate and direct cause of Plaintiff’s injuries.




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                                                              11.

                    Plaintiff received medical treatment for injuries she sustained from the incident that

             occurred at Publix located at 3730 Carmia Drive, #200, Atlanta, GA 30331.

                                                              12.

                    On March 15, 2019, Defendant did not have procedures in effect for properly and safely

             stock shelves of Publix located at 3730 Carmia Drive, #200, Atlanta, GA 30331.

                                                              13.

                    On March 15, 2019, Defendant’s employees helped Plaintiff after the incident.

                                                              14.

                    Defendant has been properly served with process in this action.

                                                              15.

                    Defendant is subject to the jurisdiction and venue of this court.

                  18th day of February, 2021.
             This ____
                                                                    Respectfully submitted,

                                                                    BEY & ASSOCIATES, LLC


                                                                    _________________________
                                                                    Tifanie Owens, Esq.
                                                                    Georgia Bar No.: 868125
                                                                    Attorneys for Plaintiff
             191 Peachtree Street, NE, Ste. 3200
             Atlanta, Georgia 30303
             Telephone: (404) 344-4448.




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                   EXHIBIT F
                                                                                                State Court of Fulton County
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                                                                                                                 21EV001042
                                                                                                          2/18/2021 8:01 AM
                                                                                                 Christopher G. Scott, Clerk
                                                                                                                Civil Division
                                   IN THE STATE COURT OF FULTON COUNTY
                                             STATE OF GEORGIA

             CARLA HALL                                       )
                                                              ) CIVIL ACTION
             Plaintiff,                                       ) FILE NO.
                                                              )
             v.                                               )
                                                              ) JURY TRIAL DEMAND
             PUBLIX SUPER MARKETS, INC.,                      )
                                                              )
             Defendant.                                       )
                                                              )

                   PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
                              DEFENDANT PUBLIX SUPER MARKETS, INC.

                    In compliance with O.C.G.A. §9-11-34, Defendant Publix Super Markets, Inc. is required

             to produce and permit Plaintiff to inspect and copy the designated documents. The production,

             inspection, copying, and all related acts shall take place at the offices of the attorneys for the

             Plaintiff, commencing at 10:00 am, on the first business day following the 45th day after the date

             you are served with this Request for Production of Documents, or any other date convenient to

             counsel for all parties, and continuing from day to day thereafter until inspection, copying and

             related acts are completed by Plaintiff.

                    Defendant is reminded of the duty to supplement the responses to this Request for

             Production of Documents as required by O.C.G.A. §9-11-26.

                    The definitions included in the Interrogatories served on this Defendant are incorporated

             by reference and apply to the requested documents.

                    In the alternative, Defendant may provide a true and accurate copy of the requested

             documents within forty-five (45) days after receipt of this Request for Production of Documents

             by mailing copies of the produced documents to the offices of the attorneys for the Plaintiff.

                                 IDENTIFICATION OF PRIVILEGED DOCUMENTS




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                      If the production of any document is withheld pursuant to a claim of a privilege,

             Defendant is required to provide, in lieu of production, the following identifying information on

             each such document; a) title; b) date; c) author; d) addressee; e) all copy addresses; f) a brief

             description of the document with sufficient specificity to reveal its subject matter; g) the form of

             the document and any attachments; h) the present location of the document; I) the identity of the

             person or persons who have custody, control, or possession of the document; and j) a statement

             of the basis on which the privilege is claimed.

                                                               1.

                      Produce copies of any statements obtained by you from any witnesses or any other

             individual (including but not limited to Plaintiff and Defendant) pertaining to the incident which

             is the subject matter of this lawsuit.

                                                               2.

                      Produce copies of any photograph in the possession of your insurance carrier, your

             attorney, or yourself of the scene of the incident involving Plaintiff which occurred on March 15,

             2019.

                                                               3.

                      Produce copies of any videos in the possession of your insurance carrier, your attorney,

             or yourself of the subject incident involving Plaintiff that occurred on March 15, 2019. Including

             the two hours directly preceding the incident, the incident itself, and the moments subsequent to

             the incident until the Plaintiff exits the Publix located at 3730 Carmia Drive, #200, Atlanta, GA

             30331.

                                                               4.

                      Provide copies of each insurance policy or policies (automobile, umbrella, and all others




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             of any kind) covering you and/or the Publix you owned and operated located at 3730 Carmia

             Drive, #200, Atlanta, GA 30331 on March 15, 2019, including the declaration pages.

                                                             5.

                    Provide copies of all documents which record, reflect, or otherwise evidence, in whole or

             in part, documents referred to, or in any way relied on, or identified, in your responses to the

             First Interrogatories to Defendant.

                                                             6.

                    Produce copies of all documents which record, reflect, or otherwise evidence, in whole or

             in part, any report or bill from any doctor, hospital, clinic, x-ray laboratory, chiropractor,

             ambulance, or any other medical facility or medical source, which relate to Plaintiff.

                                                             7.

                    Produce copies of all documents which record, reflect, or otherwise evidence, in whole or

             in part, incident reports, internal investigations, accident reports, and any other investigations of

             any kind conducted by you or on your behalf of any kind relating to the incident which occurred

             on March 15, 2019.

                                                             8.

                    Produce copies of all documents which record, reflect, or otherwise evidence, in whole or

             in part, any investigation conducted by you, or any agent of you, conducted in the usual and

             ordinary course of business relating to the incident which occurred on March 15, 2019.

                                                             9.

                    Produce copies of all documents which record, reflect, or otherwise evidence, in whole or

             in part, any statement from any person claiming to have been in the sight, hearing or in the

             approximate vicinity of Plaintiff incident which occurred on March 15, 2019.




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                                                             10.

                     Produce all documents which record, reflect, or otherwise evidence, in whole or in part,

             any procedures the Defendant has in place to ensure the premises and approaches are safe.

                                                             11.

                     Produce copies of all documents which record, reflect, or otherwise evidence, in whole or

             in part, any photographs, videotapes and surveillance of any kind which document the physical

             abilities and activities of the Plaintiff.

                                                             12.

                     Produce copies of all documents which record, reflect, or otherwise evidence, in whole or

             in part, any defenses Defendant has made in response to Plaintiff’s Complaint.

                                                             13.

                     Produce copies of all documents which record, reflect, or otherwise evidence, in whole or

             in part, any communications of any kind with Plaintiff.

                                                             14.

                     Produce copies of all documents which record, reflect, or otherwise evidence, in whole or

             in part, Plaintiff’s ability to work including employment applications, lost time records, and any

             documents of any kind from Plaintiff’s employer.

                                                             15.

                     Produce copies of all documents which record, reflect, or otherwise evidence, in whole or

             in part, information and data containing the names and addresses of all witnesses to all or part of

             the allegations set forth in the Complaint and copies of any and all written data and information

             obtained from said witness.




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                                                           16.

                    Produce copies of all documents which record, reflect, otherwise evidence, in whole or in

             part, information and data containing the names and addresses of all employees who worked on

             March 15, 2019.

                                                           17.

                    If you have denied any one or more of the First Request for Admissions to Defendant,

             please produce copies of all documents relied upon by this defendant in each such denial.


                  18th day of February, 2021.
             This ____
                                                                 Respectfully submitted,

                                                                 BEY & ASSOCIATES, LLC


                                                                 _________________________
                                                                 Tifanie Owens, Esq.
                                                                 Georgia Bar No.: 868125
                                                                 Attorneys for Plaintiff
             191 Peachtree Street, NE, Ste. 3200                          Type text here
             Atlanta, Georgia 30303
             Telephone: (404) 344-4448.




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                       EXHIBIT G
                                                                                                 State Court of Fulton County
                    Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 35 of 71                               **E-FILED**
                                                                                                                  21EV001042
                                                                                                           3/11/2021 2:18 PM
                                                                                                  Christopher G. Scott, Clerk
                                                                                                                 Civil Division
                                   IN THE STATE COURT OF FULTON COUNTY
                                             STATE OF GEORGIA

              CARLA HALL                     )
                                             ) CIVIL ACTION
              Plaintiff,                     ) FILE NO. 21EV001042
                                             )
                                             )
              v.                             ) JURY TRIAL DEMAND
                                             )
                                             )
              PUBLIX SUPER MARKETS, INC.,    )
                                             )
              Defendant.                     )
                                             )
                                             )
                           NOTICE OF AGREEMENT TO EXTEND ANSWER

                    NOW COMES, Plaintiff by and through her counsel, and hereby informs this Court that

             the Defendant, Publix Super Markets, Inc. without representation at this time, has requested a thirty

             (30) day extension to respond to the Plaintiff’s complaint in efforts to try and resolve said matter

             without futhter litigation. Plaintiff has agreed to said extension on a good faith basis to resolve

             this matter. Specifically, Plaintiff has agreed that Defendant’s Answer should be due on April 23,

             2021, unless this matter is resolved otherwise.

                    Respectfully submitted this 11th day of March, 2021.


                                                                   BEY & ASSOCIATES LLC


                                                                   ________________________________
                                                                   Tifanie Owens
                                                                   Georgia Bar No.
                                                                   Attorney for Plaintiff

             191 Peachtree Street N.E., Suite 3230
             Atlanta, Georgia 30303
             Telephone: (404) 344-4448
             Facsimile: (404) 393-6107




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                        EXHIBIT H
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                 IN THE STATE COURT OF FULTON COUNTY
                           STATE OF GEORGIA

CARLA HALL,                                )
                                           )
             Plaintiff,                    )
                                           )
                                           )
vs.                                        )
                                           )        Civil Action
PUBLIX SUPER MARKETS, INC.,                )        File No.: 21EV001042
                                           )
             Defendant.                    )
                                           )
                                           )
                                           )

 DEFENDANT PUBLIX SUPER MARKETS, INC.’S ANSWER AND DEFENSES
             TO PLAINTIFF’S VERIFIED COMPLAINT

      COMES NOW Publix Super Markets, Inc. (“Publix” hereinafter), Defendant in this

action, and hereby files its Answer and Defenses to Plaintiff’s Verified Complaint

(“Complaint” hereinafter), showing the Court as follows:

                                  FIRST DEFENSE

      Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

                                 SECOND DEFENSE

      Venue is improper and the Complaint must be dismissed on these grounds.

                                  THIRD DEFENSE

      In response to the individually numbered paragraphs in Plaintiff’s Complaint,

Publix responds as follows:

                              PRELIMINARY STATEMENT

                                           1.

      Paragraph 1 of Plaintiff’s Complaint states a legal conclusion to which no response



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is required. Should the Court deem any response necessary, Publix denies the allegations

contained in Paragraph 1 of Plaintiff’s Complaint.

                      PARTIES, JURISDICTION, AND VENUE

                                             2.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 2 of Plaintiff’s Complaint, and therefore must deny the same.

                                             3.

       Publix admits it is a foreign corporation organized and existing under the laws of

the State of Florida and authorized to conduct business in the State of Georgia. Publix does

not contest this Court’s jurisdiction, but denies venue is proper in Fulton County. Publix

admits service of the Summons and Complaint is proper upon Publix by serving its

registered agent Corporate Creations Network Inc., 2985 Gordy Parkway, 1st Floor,

Marietta, Cobb County, GA 30066.

                                             4.

       Publix admits the allegations contained in Paragraph 4 of Plaintiff’s Complaint.

                                             5.

       Publix admits this court has jurisdiction over this case, but denies venue is proper.

All remaining allegations contained in Paragraph 5 of Plaintiff’s Complaint state a legal

conclusion to which no response is required. Should the Court deem any further response

necessary, Publix denies the remaining allegations contained in Paragraph 5 of Plaintiff’s

Complaint.




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                                 OPERATIVE FACTS

                                            6.

      Publix admits Plaintiff entered the Publix Super Market located at 3730 Carmia

Drive, #200, Atlanta, GA 30331 in Fulton County on March 17, 2009. The remaining

allegations contained in Paragraph 6 of Plaintiff’s Complaint state a legal conclusion to

which no response is required. Should the Court deem any further response necessary,

Publix denies the remaining allegations contained in Paragraph 6 of Plaintiff’s Complaint.

                                            7.

      Publix admits the allegations contained in Paragraph 7 of Plaintiff’s Complaint.

                                            8.

      Paragraph 8 of Plaintiff’s Complaint states a legal conclusion to which no response

is required. Should the Court deem any further response necessary, Publix denies the

allegations contained in Paragraph 8 of Plaintiff’s Complaint.

                                            9.

      Paragraph 9 of Plaintiff’s Complaint states a legal conclusion to which no response

is required. Should the Court deem any further response necessary, Publix denies the

allegations contained in Paragraph 9 of Plaintiff’s Complaint.

                                           10.

      Publix admits that when the incident took place Plaintiff was in the deli section.

Publix is without knowledge sufficient to admit or deny the remaining allegations

contained in Paragraph 10 of Plaintiff’s Complaint, and therefore must deny the same.




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                                             11.

       Publix admits the allegations contained in Paragraph 11 of Plaintiff’s Complaint.

                                             12.

       Publix admits a box fell from a rack and struck Plaintiff on her neck and left

shoulder. Publix denies all remaining allegations contained in Paragraph 12 of Plaintiff’s

Complaint.

                                             13.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 13 of Plaintiff’s Complaint, and therefore must deny the same.

                               COUNT I – NEGLIGENCE

                                             14.

       Publix incorporates and reasserts by reference its responses to Paragraphs 1 through

13 above as if fully set forth verbatim herein.

                                             15.

       Paragraph 15 of Plaintiff’s Complaint states a legal conclusion to which no response

is required. Should the Court deem any further response necessary, Publix denies the

allegations contained in Paragraph 15 of Plaintiff’s Complaint.

                                             16.

       Paragraph 16 of Plaintiff’s Complaint states a legal conclusion to which no response

is required. Should the Court deem any further response necessary, Publix denies the

allegations contained in Paragraph 16 of Plaintiff’s Complaint.




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                                            17.

       Publix denies having actual knowledge of Plaintiff’s physical location in the Publix

Super Market at the time of the incident. Upon information and belief, Publix admits at

least one of its associates had knowledge of Plaintiff’s location in the Publix Super Market.

Publix denies all remaining allegations contained in Paragraph 17 of Plaintiff’s Complaint.

                                            18.

       Paragraph 18 of Plaintiff’s Complaint states a legal conclusion to which no response

is required. Should the Court deem any further response necessary, Publix denies the

allegations contained in Paragraph 18 of Plaintiff’s Complaint.

                                            19.

       Publix denies all allegations contained in Paragraph 19 regarding its alleged failure

to train its associates. All remaining allegations contained in Paragraph 19 of Plaintiff’s

Complaint state a legal conclusion to which no response is required. Should the Court deem

any further response necessary, Publix denies the remaining allegations contained in

Paragraph 19 of Plaintiff’s Complaint.

                                            20.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 20 of Plaintiff’s Complaint, and therefore must deny the same.

                                            21.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 21 of Plaintiff’s Complaint regarding Plaintiff’s alleged injuries, and therefore

must deny the same. All remaining allegations contained in Paragraph 21 of Plaintiff’s



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Complaint state a legal conclusion to which no response is required. Should the Court deem

any further response necessary, Publix denies the remaining allegations contained in

Paragraph 21 of Plaintiff’s Complaint.

                                           22.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 22 of Plaintiff’s Complaint regarding Plaintiff’s alleged medical treatment or

injuries, and therefore must deny the same.       All remaining allegations contained in

Paragraph 22 of Plaintiff’s Complaint state a legal conclusion to which no response is

required. Should the Court deem any further response necessary, Publix denies the

remaining allegations contained in Paragraph 22 of Plaintiff’s Complaint.

                                           23.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 23 of Plaintiff’s Complaint regarding Plaintiff’s alleged medical expenses, and

therefore must deny the same. All remaining allegations contained in Paragraph 23 of

Plaintiff’s Complaint state a legal conclusion to which no response is required. Should the

Court deem any further response necessary, Publix denies the remaining allegations

contained in Paragraph 23 of Plaintiff’s Complaint.

                                           24.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 24 of Plaintiff’s Complaint regarding Plaintiff’s alleged injuries or medical

expense, and therefore must deny the same. All remaining allegations contained in

Paragraph 24 of Plaintiff’s Complaint state a legal conclusion to which no response is



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required. Should the Court deem any further response necessary, Publix denies the

remaining allegations contained in Paragraph 24 of Plaintiff’s Complaint.

        COUNT II – NEGLIGENT HIRING, TRAINING & SUPERVISION

                                             25.

       Publix incorporates and reasserts by reference its responses to Paragraphs 1 through

24 above as if fully set forth verbatim herein.

                                             26.

       Publix denies all allegations it failed to properly train or hire its associates. All

remaining allegations contained in Paragraph 26 of Plaintiff’s Complaint state a legal

conclusion to which no response is required. Should the Court deem any further response

necessary, Publix denies the remaining allegations contained in Paragraph 26 of Plaintiff’s

Complaint.

                                             27.

       Publix denies all allegations it failed to properly train its associates. All remaining

allegations contained in Paragraph 27 of Plaintiff’s Complaint state a legal conclusion to

which no response is required. Should the Court deem any further response necessary,

Publix denies the remaining allegations contained in Paragraph 27 of Plaintiff’s Complaint.

                                             28.

       Publix denies all allegations it failed to properly supervise its associates. All

remaining allegations contained in Paragraph 28 of Plaintiff’s Complaint state a legal

conclusion to which no response is required. Should the Court deem any further response

necessary, Publix denies the remaining allegations contained in Paragraph 28 of Plaintiff’s



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Complaint.

                                             29.

       Publix denies all allegations it failed to properly hire or train its associates. All

remaining allegations contained in Paragraph 29 of Plaintiff’s Complaint state a legal

conclusion to which no response is required. Should the Court deem any further response

necessary, Publix denies the remaining allegations contained in Paragraph 29 of Plaintiff’s

Complaint.

                                COUNT III – DAMAGES

                                             30.

       Publix incorporates and reasserts by reference its responses to Paragraphs 1 through

29 above as if fully set forth verbatim herein.

                                             31.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 31 of Plaintiff’s Complaint regarding Plaintiff’s alleged injuries, and therefore

must deny the same. All remaining allegations contained in Paragraph 31 of Plaintiff’s

Complaint state a legal conclusion to which no response is required. Should the Court deem

any further response necessary, Publix denies the remaining allegations contained in

Paragraph 31 of Plaintiff’s Complaint.

                                             32.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 32 of Plaintiff’s Complaint regarding Plaintiff’s alleged medical expenses, and

therefore must deny the same. All remaining allegations contained in Paragraph 32 of



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       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 45 of 71




Plaintiff’s Complaint state a legal conclusion to which no response is required. Should the

Court deem any further response necessary, Publix denies the remaining allegations

contained in Paragraph 32 of Plaintiff’s Complaint.

                                           33.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 33 of Plaintiff’s Complaint regarding Plaintiff’s alleged medical expenses, and

therefore must deny the same. All remaining allegations contained in Paragraph 33 of

Plaintiff’s Complaint state a legal conclusion to which no response is required. Should the

Court deem any further response necessary, Publix denies the remaining allegations

contained in Paragraph 33 of Plaintiff’s Complaint.

                                           34.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 34 of Plaintiff’s Complaint regarding Plaintiff’s alleged pain and suffering, and

therefore must deny the same. All remaining allegations contained in Paragraph 34 of

Plaintiff’s Complaint state a legal conclusion to which no response is required. Should the

Court deem any further response necessary, Publix denies the remaining allegations

contained in Paragraph 34 of Plaintiff’s Complaint.

                                           35.

       Publix is without knowledge sufficient to admit or deny the allegations contained in

Paragraph 35 of Plaintiff’s Complaint regarding Plaintiff’s alleged pain and suffering, and

therefore must deny the same. All remaining allegations contained in Paragraph 35 of

Plaintiff’s Complaint state a legal conclusion to which no response is required. Should the



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       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 46 of 71




Court deem any further response necessary, Publix denies the remaining allegations

contained in Paragraph 35 of Plaintiff’s Complaint.

                                              36.

       Any allegation, language or paragraph contained in Plaintiff’s Complaint which has

not been expressly responded to by Publix is hereby denied by Publix.

                                              37.

       Publix denies that Plaintiff is entitled to recover from it any damages or relief for

which she has prayed in the unnumbered paragraph beginning “WHEREFORE.”

       WHEREFORE, having fully answered, Publix demands judgment in its favor.

Publix further requests a trial by a jury of twelve (12) on all issues.

       This 23rd day of April, 2021.


                                                    Respectfully submitted,

                                                    COPELAND, STAIR, KINGMA &
                                                    LOVELL, LLP
 Copeland, Stair, Kingma
 & Lovell, LLP                                      By: /s/ Melissa C. Greene
 191 Peachtree Street, NE, Suite 3600                   CHARLES M. MCDANIEL, JR.
 P.O. Box 56887 (30343-0887)                            Georgia State Bar No. 487905
 Atlanta, GA 30303-1740                                 MELISSA C. GREENE
 Telephone (404) 522-8220                               Georgia State Bar No. 580723
 Facsimile (404) 523-2345
 cmcdaniel@cskl.law                                     Attorneys for Publix Super Markets,
 mgreene@cskl.law                                       Inc.




                                             -10-
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 47 of 71




                             CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANT PUBLIX SUPER MARKETS, INC.’S ANSWER AND DEFENSES

TO PLAINTIFF’S VERIFIED COMPLAINT pleading upon all parties to this matter

via electronic filing, addressed to counsel of record as follows:

                                     Tifanie Owens
                              BEY & ASSOCIATES, LLC
                            191 Peachtree Street, NE, St. 3200
                                 Atlanta, Georgia 30303



       This 23rd day of April, 2021.


                                                Respectfully submitted,

                                                COPELAND, STAIR, KINGMA &
                                                LOVELL, LLP
 Copeland, Stair, Kingma
 & Lovell, LLP                                  By: /s/ Melissa C. Greene
 191 Peachtree Street, NE, Suite 3600               CHARLES M. MCDANIEL, JR.
 P.O. Box 56887 (30343-0887)                        Georgia State Bar No. 487905
 Atlanta, GA 30303-1740                             MELISSA C. GREENE
 Telephone (404) 522-8220                           Georgia State Bar No. 580723
 Facsimile (404) 523-2345
 cmcdaniel@cskl.law                                  Attorneys for Publix Super Markets,
 mgreene@cskl.law                                    Inc.




7709112v.1
Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 48 of 71




                        EXHIBIT I
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 49 of 71




                 IN THE STATE COURT OF FULTON COUNTY
                           STATE OF GEORGIA

CARLA HALL,                                )
                                           )
             Plaintiff,                    )
                                           )
                                           )
vs.                                        )
                                           )        Civil Action
PUBLIX SUPER MARKETS, INC.,                )        File No.: 21EV001042
                                           )
             Defendant.                    )
                                           )
                                           )
                                           )

       DEFENDANT PUBLIX SUPER MARKETS, INC.’S DEMAND FOR
                    JURY TRIAL BY TWELVE

      COMES NOW Defendant Publix Super Markets, Inc. (“Publix” hereinafter) and

hereby demands that the above captioned case be tried by a jury of twelve.


      This 23rd day of April, 2021.


                                               Respectfully submitted,

                                               COPELAND, STAIR, KINGMA &
                                               LOVELL, LLP
 Copeland, Stair, Kingma
 & Lovell, LLP                                 By: /s/ Melissa C. Greene
 191 Peachtree Street, NE, Suite 3600              CHARLES M. MCDANIEL, JR.
 P.O. Box 56887 (30343-0887)                       Georgia State Bar No. 487905
 Atlanta, GA 30303-1740                            MELISSA C. GREENE
 Telephone (404) 522-8220                          Georgia State Bar No. 580723
 Facsimile (404) 523-2345
 cmcdaniel@cskl.law                                Attorneys for Publix Super Markets,
 mgreene@cskl.law                                  Inc.




7715053v.1
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 50 of 71




                            CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANT PUBLIX SUPER MARKETS, INC.’S DEMAND FOR JURY TRIAL BY

TWELVE pleading upon all parties to this matter via electronic filing, addressed to counsel

of record as follows:

                                    Tifanie Owens
                             BEY & ASSOCIATES, LLC
                           191 Peachtree Street, NE, St. 3200
                                Atlanta, Georgia 30303


       This 23rd day of April, 2021.


                                                  Respectfully submitted,

                                                  COPELAND, STAIR, KINGMA &
                                                  LOVELL, LLP
 Copeland, Stair, Kingma
 & Lovell, LLP                                    By: /s/ Melissa C. Greene
 191 Peachtree Street, NE, Suite 3600                 CHARLES M. MCDANIEL, JR.
 P.O. Box 56887 (30343-0887)                          Georgia State Bar No. 487905
 Atlanta, GA 30303-1740                               MELISSA C. GREENE
 Telephone (404) 522-8220                             Georgia State Bar No. 580723
 Facsimile (404) 523-2345
 cmcdaniel@cskl.law                                   Attorneys for Publix Super Markets,
 mgreene@cskl.law                                     Inc.




7715053v.1
                                            -2-
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                   EXHIBIT J
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 52 of 71



                    IN THE STATE COURT OF FULTON COUNTY
                              STATE OF GEORGIA

CARLA HALL,                               )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )
                                          )      CIVIL ACTION NO.: 21EV001042
PUBLIX SUPER MARKETS, INC.,               )
                                          )


                       RULE 5.2 CERTIFICATE OF SERVICE

       I hereby certify that pursuant to Superior/State Court Uniform Rule 5.2, I have

served upon all parties to this matter a copy of the following pleadings:


          1. Defendant Publix Super Markets, Inc.’s First Request for Admissions to
             Cara Hall; and

          2. Defendant Publix Super Markets, Inc.’s First Interrogatories and
             Request for Production of Documents to Plaintiff.


by electronic service and/or by depositing a true copy of same in the U.S. Mail, proper

postage prepaid, addressed to counsel of record as follows:


                                  Tifanie Owens, Esq.
                           191 Peachtree Street, NE, Ste. 3200
                                Atlanta, Georgia 30303




          This 23rd day of April, 2021.




7719624v.1
      Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 53 of 71



                                              COPELAND STAIR KINGMA
                                              & LOVELL, LLP

                                              /s/ Melissa C. Greene
                                              CHARLES M. MCDANIEL, JR.
                                              Georgia Bar No.: 487905
                                              MELISSA C. GREENE
                                              Georgia Bar No.: 580723
                                              Attorneys for Publix Super
                                              Markets, Inc.



191 Peachtree Street, NE
Suite 3600
Atlanta, Georgia 30303-1740
404-522-8220
cmcdaniel@cskl.law
mgreene@cskl.law
       ………
P.O. Box 56887
Atlanta,




                                    -2-
Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 54 of 71




                      EXHIBIT K
                                                                                     State Court of Fulton County
        Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 55 of 71                               **E-FILED**
                                                                                                      21EV001042
                                                                                               5/21/2021 2:30 PM
                                                                                      Christopher G. Scott, Clerk
                                                                                                     Civil Division
                        IN THE STATE COURT OF FULTON COUNTY
                                  STATE OF GEORGIA

 CARLA HALL                                         )
                                                    ) CIVIL ACTION
 Plaintiff,                                         ) FILE NO. 21EV001042
                                                    )
                                                    )
 v.                                                 )
                                                    )
                                                    )
 PUBLIX SUPER MARKETS, INC.,                        )
                                                    )
 Defendant.                                         )
                                                    )
                                                    )


                                      LEAVE OF ABSENCE


       COMES NOW, Tifanie Owens, and respectfully notifies all judges before whom they

have pending cases, all affected clerks of court, and all opposing counsel, that they will be on leave

pursuant to Georgia Uniform Court Rule 16.

       The period of leave during which time Applicant will be away from the practice of law is:

             July 21, 2021 to October 31, 2021

       All affected judges and opposing counsel shall have ten days from the date of this Notice

to object to the same. If no objections are filed, the leave shall be granted.



       Dated: May 19, 2021



                                     (Signature Page Follows)
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 56 of 71




                                              BEY & ASSOCIATES LLC


                                              /s/ Tifanie Owens
                                              ________________________________
                                              Tifanie Owens
                                              Georgia Bar No. 868125
                                              Attorney for Plaintiff

191 Peachtree Street N.E., Suite 3230
Atlanta, Georgia 30303
Telephone: (404) 344-4448
Facsimile: (404) 393-6107
Tifanie@beyandassociates.com




                                        -2-
        Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 57 of 71




                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

 CARLA HALL                                    )
                                               ) CIVIL ACTION
 Plaintiff,                                    ) FILE NO. 21EV001042
                                               )
                                               )
 v.                                            )
                                               )
                                               )
 PUBLIX SUPER MARKETS, INC.,                   )
                                               )
 Defendant.                                    )
                                               )
                                               )

                               CERTIFICATE OF SERVICE


       I hereby certify that I have duly served a copy of the foregoing NOTICE OF LEAVE OF

ABSENCE upon all parties via eFiling and U.S. Mail to:

                                    Charles McDaniel, Jr.
                                      Melissa C. Greene
                            Copeland, Stair, Kingma & Lovell, LLP
                              191 Peachtree St, NE, Suite 3600
                                P.O. Box 56887 (30343-0887)
                                  Atlanta, GA 30303-1740
                                     cmcdaniel@cskl.law
                                      mgreene@cskl.law

Dated: May 19, 2021
                                                 BEY & ASSOCIATES LLC

                                                 /s/ Tifanie Owens
                                                 ______________________________
                                                 Tifanie Owens
                                                 Georgia Bar No. 868125
                                                 Attorney for Plaintiff
191 Peachtree Street N.E., Suite 3230
Atlanta, Georgia 30303
Telephone: (404) 344-4448
Facsimile: (404) 393-6107
Tifanie@beyandassociates.com
Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 58 of 71




                      EXHIBIT L
                                                                                  State Court of Fulton County
           Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 59 of 71                         **E-FILED**
                                                                                                   21EV001042
                                                                                           5/26/2021 11:19 AM
                                                                                   Christopher G. Scott, Clerk
                                                                                                  Civil Division
                           IN THE STATE COURT OF FULTON COUNTY
                                     STATE OF GEORGIA

  CARLA HALL,                                       )
                                                    )
                   Plaintiff,                       )
                                                    )
  vs.                                               )
                                                    )      Civil Action
                                                    )      File No.: 21EV001042
  PUBLIX SUPER MARKETS, INC.,
                                                    )
                                                    )
                   Defendant.                       )

                                          CERTIFICATE OF SERVICE
  I hereby certify that I have this day served a copy of the foregoing PLAINTIFF’S RESPONSE
  TO DEFENDANT PUBLIX SUPERMARKETS, INC.’S FIRST REQUEST FOR
  ADMISSIONS TO PLAINTIFF CARLA HALL, PLAINTIFF’S RESPONSE TO
  DEFENDANT PUBLIX SUPERMARKETS, INC.’S FIRST INTERROGATORIES TO
  PLAINTIFF CARLA HALL, and PLAINTIFF’S RESPONSE TO DEFENDANT PUBLIX
  SUPERMARKETS, INC.’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
  PLAINTIFF CARLA HALL, and accompanying documentation by statutory electronic service,
  addressed as follows:

            Melissa C. Greene                Charles M. McDaniel, Jr.
COPELAND STAIR KINGMA & LOVELL, LLP COPELAND STAIR KINGMA & LOVELL, LLP
    191 Peachtree Street NE, Suite 3600 191 Peachtree Street NE, Suite 3600
          Atlanta, Georgia 30303              Atlanta, Georgia 30303
            mgreene@cskl.law                   cmcdaniel@cskl.law
          Attorney for Defendant              Attorney for Defendant




          Respectfully submitted, this 24th day of May, 2021.

                                                        Respectfully submitted,
                                                        BEY & ASSOCIATES LLC
                                                        ___________________________
                                                        SARA D.E. KELLY, ESQ.
                                                        Georgia Bar No. 357586
                                                        Attorney for Plaintiff
  191 Peachtree Street N.E., Suite 3200
  Atlanta, Georgia 30303
  Telephone: (404) 344-4448
  Facsimile: (404) 393-6107
  sara@beyandassociates.com
Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 60 of 71




                       EXHIBIT M
                                                                                  State Court of Fulton County
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 61 of 71                             **E-FILED**
                                                                                                   21EV001042
                                                                                              6/4/2021 3:33 PM
                                                                                   Christopher G. Scott, Clerk
                                                                                                  Civil Division
                     IN THE STATE COURT OF FULTON COUNTY
                               STATE OF GEORGIA

 CARLA HALL                       )
                                  ) CIVIL ACTION
 Plaintiff,                       ) FILE NO. 21EV001042
                                  )
                                  )
 v.                               ) JURY TRIAL DEMAND
                                  )
                                  )
 PUBLIX SUPER MARKETS, INC.,      )
                                  )
 Defendant.                       )
                                  )
                                  )
                         NOTICE OF APPEARANCE

       NOW COMES Plaintiff, Carla Hall, and hereby provides Notice of Appearance for counsel

Sara Kelly of Bey & Associates, LLC. Counsel’s bar number and contact information are as

follows:

                                              Sara Kelly
                                       Georgia Bar No.357586
                                       Bey & Associates, LLC
                                 191 Peachtree Street, N.E. Suite 3200
                                         Atlanta, GA 30303
                                        Phone: 404-344-4448

       All further pleadings, orders and notices should be sent to Sara Kelly at the address above.

       On this 2nd Day of June 2021




                                       (Signature Page Follows)
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 62 of 71




                                              BEY & ASSOCIATES LLC


                                              ________________________________
                                              Sara Kelly
                                              Georgia Bar No. 357586
                                              Attorney for Plaintiff

191 Peachtree Street N.E., Suite 3230
Atlanta, Georgia 30303
Telephone: (404) 344-4448
Facsimile: (404) 393-6107
sara@beyandassociates.com




                                        -2-
        Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 63 of 71




                     IN THE STATE COURT OF FULTON COUNTY
                               STATE OF GEORGIA

 CARLA HALL                                      )
                                                 ) CIVIL ACTION
 Plaintiff,                                      ) FILE NO. 21EV001042
                                                 )
                                                 )
 v.                                              ) JURY TRIAL DEMAND
                                                 )
                                                 )
 PUBLIX SUPER MARKETS, INC.,                     )
                                                 )
 Defendant.                                      )
                                                 )
                                                 )

                                   CERTIFICATE OF SERVICE

              This is to certify that I have this date served the within and foregoing NOTICE OF

APPEARANCE upon all parties electronically and by depositing the same in the United States

Mail in a properly addressed envelope with adequate postage thereon to ensure delivery to:

                                       Charles McDaniel, Jr.
                                         Melissa C. Greene
                               Copeland, Stair, Kingma & Lovell, LLP
                                 191 Peachtree St, NE, Suite 3600
                                   P.O. Box 56887 (30343-0887)
                                     Atlanta, GA 30303-1740
                                        cmcdaniel@cskl.law
                                         mgreene@cskl.law



       On this 2nd Day of June 2021




                                      (Signature Page Follows)



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       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 64 of 71




                                              BEY & ASSOCIATES LLC


                                              ________________________________
                                              Sara Kelly
                                              Georgia Bar No. 357586
                                              Attorney for Plaintiff

191 Peachtree Street N.E., Suite 3230
Atlanta, Georgia 30303
Telephone: (404) 344-4448
Facsimile: (404) 393-6107
sara@beyandassociates.com




                                        -4-
Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 65 of 71




                       EXHIBIT N
                                                                                     State Court of Fulton County
        Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 66 of 71                               **E-FILED**
                                                                                                      21EV001042
                                                                                               9/14/2021 4:08 PM
                                                                                      Christopher G. Scott, Clerk
                                                                                                     Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

 CARLA HALL                                           )
                                                      ) CIVIL ACTION
 Plaintiff,                                           ) FILE NO. 21EV001042
                                                      )
                                                      )
 v.                                                   )
                                                      )
                                                      )
 PUBLIX SUPER MARKETS, INC.                           )
                                                      )
 Defendant.                                           )
                                                      )
                                                      )

                      JOINT MOTION TO EXTEND DISCOVERY



         COME NOW Plaintiffs and Defendant and file this joint motion to extend the discovery

 period in this case through and including December 22, 2021.

                                                 1.

         This case is a personal injury action against Defendants that was filed originally on

 February 18, 2021.

                                                 2.

       The initial six-month Discovery Period expires on October 22, 2021.

                                                 3.

       Both Plaintiff and Defendant have served and responded to written interrogatories and

requests for production of documents.

                                                 4.

         This discovery extension is the first that the parties have requested. The parties agree that

 an extension of time is necessary to complete depositions.
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 67 of 71




                                               5.

       The parties are working on scheduling the depositions of the outstanding witnesses in a

timely manner.

                                               6.

       Disclosure of experts and expert depositions remain to be taken.



       This 14th day of September 2021

                                                    BEY & ASSOCIATES LLC



                                                    ________________________________
                                                    Sara Kelly
                                                    Georgia Bar No. 357586
                                                    Attorney for Plaintiff

191 Peachtree Street NE, Suite 3200
Atlanta, GA 30303
Telephone: 404-344-4448
Facsimile: 404-393-6107
sara@beyandassociates.com


Consented to by:

/s/ Melissa Greene
_________________________

Melissa C. Greene
Copeland, Stair, Kingma & Lovell, LLP
191 Peachtree Street, NE, Suite 3600
Atlanta, GA 30303-1740
mgreene@cskl.law
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 68 of 71




/s/ Charles Mc Daniel Jr.
___________________________

Charles M. McDaniel, Jr.
Georgia State Bar No. 487905
Copeland, Stair, Kingma & Lovell, LLP

191 Peachtree Street, NE, Suite 3600

Atlanta, GA 30303-1740
cmcdaniel@cskl.law
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 69 of 71




                     IN THE STATE COURT OF FULTON COUNTY
                               STATE OF GEORGIA

CARLA HALL                                        )
                                                  ) CIVIL ACTION
Plaintiff,                                        ) FILE NO. 21EV001042
                                                  )
                                                  )
v.                                                )
                                                  )
                                                  )
PUBLIX SUPER MARKETS, INC.                        )
                                                  )
Defendant.                                        )
                                                  )
                                                  )
                                CERTIFICATE OF SERVICE


        I hereby certify that I have this date served a true and correct copy of the within and

foregoing Joint Motion to Extend Discovery upon all parties by statutory electronic service

throughautomatic notifications sent to all parties:

                                     Melissa C. Greene
                                   Charles M. McDaniel, Jr.
                             Copeland, Stair, Kingma & Lovell, LLP
                              191 Peachtree Street, NE, Suite 3600
                                    Atlanta, GA 30303-1740
                                       mgreene@cskl.law
                                     cmcdaniel@cskl.law


      This 14th day of September 2021



                                                      BEY & ASSOCIATES LLC


                                                      ________________________________
                                                      Sara Kelly
                                                      Georgia Bar No. 357586
                                                      Attorney for Plaintiff
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 70 of 71




191 Peachtree Street NE, Suite 3200
Atlanta, GA 30303
Telephone: 404-344-4448
Facsimile: 404-393-6107
sara@beyandassociates.com
       Case 1:21-cv-04839-TWT Document 1-1 Filed 11/23/21 Page 71 of 71




                     IN THE STATE COURT OF FULTON COUNTY
                               STATE OF GEORGIA

CARLA HALL                                      )
                                                ) CIVIL ACTION
Plaintiff,                                      ) FILE NO. 21EV001042
                                                )
                                                )
v.                                              )
                                                )
                                                )
PUBLIX SUPER MARKETS, INC.                      )
                                                )
Defendant.                                      )
                                                )
                                                )



                                           ORDER


        This matter came before this Honorable Court on Plaintiffs and Defendants’ joint motion

to extend discovery. This Court finds the motion to be well-founded and not for the purposes of

delay or any other improper purpose. The motion to extend the discovery period in this matter

upthrough and including December 22, 2021 is GRANTED.



        SO ORDERED this           day of                   , 2021.




                                            The Honorable Myra H. Dixon

                                            Fulton County State Court Judge
